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AO 442 (Rev. 11/11) Arrest Warrant _ Fo pt | 136 505 7

UNITED STATES DISTRICT COURT

for the

 

 

: : . Case: 1:23-mj-63
Western District of North Carolina Assigned To: Magistrate Judge Zia M. Faruqui
Date: 3/22/2023
Description: Rule 5 Arrest Warrant

United States of America

¥v. )

) Case No. 3:22-mj
)
)
)
Angelo Deon Slaughter )

Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

{name of person to be arrested} Angelo Deon Slaughter ’
who is accused of an offense or violation based on the following document filed with the court:

C1 Indictment (] Superseding Indictment C] Information OO Superseding Information & Complaint

LJ Probation Violation Petition (J Supervised Release Violation Petition © © Violation Notice [ Order of the Court

This offense is briefly described as follows:

knowingly and willfully moving or traveling in interstate or foreign commerce with the mtent to avoid prosecution for the crime of Robbery
with a Dangerous Weapon and Conspiracy to Commit Robbery with a Dangerous Weapon, which are felony violations under the laws of
the State of North Carolina

in violation of 18 U.S.C. § 1073: Flight to Avoid Prosecution
Signed: April 14, 2022

fra Cn .

Date: 04/14/2022 7 we
David 8. Cayer RE

United States Magistrate Judge

City and state: Charlotte, NC David 8. Cayer, U.S. Magistrate Judge

Printed name and title

 

 

Return

 

 

at (cin and state)

ome 2/ da laad3 ihe (pt

CArresting officer's signature

AS M

Printed name and title

This warrant was received on (date) | (20, 2437 >, , and the person was arrested on (date) DJ pdhed “>
/ Y Sh “A ] /\ (

 

 
